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                           IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF KANSAS


 IN RE SYNGENTA AG MIR162 CORN
 LITIGATION                                       Master File No. 2:14-MD-02591-JWL-JPO

 THIS DOCUMENT RELATES                    TO      MDL No. 2591
 ALL CASES EXCEPT:

    The Delong Co., Inc. v. Syngenta AG, et
    al., No. 2:17-cv-02614-JWL-JPO

    Heartland Corn Prods. v. Syngenta
    Seeds, LLC, et al., No. 20-cv-2168-JWL-
    JPO


          FINAL APPROVAL ORDER RELATED TO SETTLEMENT OF
     FEE-ALLOCATION DISPUTE BETWEEN WATTS GUERRA AND CERTAIN
                        LEADERSHIP COUNSEL

       Watts Guerra LLP and certain law firms, which were the Kansas MDL Co-Lead Counsel,

Minnesota Co-Lead Counsel, and Heninger Garrison Davis LLP (“HGD”) (collectively “Settling

Parties”), request that the Court approve a settlement of their dispute regarding the allocation of

attorneys’ fees in this MDL. They submitted their settlement agreement as amended and ratified

by the Settling Parties (“the Agreement”), in connection with a motion for indicative ruling filed

on November 3, 2020 (ECF No. 4485). The Court previously entered an indicative ruling that it

would approve the Agreement. ECF No. 4524. 1 On January 4, 2021, the Tenth Circuit issued an

order of limited remand for the Court to enter this order, as the Court indicated it would do upon

remand. Prior to issuing the indicative ruling, the Court permitted and considered responses to the


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         The Court reiterates that by this ruling it is not modifying or reconsidering its findings
and conclusions regarding the reasonableness and propriety of the method and amounts of Court’s
previous allocation of fees among the four pools or its previous awards of fees from those pools,
and that the Court, for the sake of efficiency, is only intending to modify its prior orders to the
extent necessary to change the eventual distribution of money from the attorney fee fund to
particular law firms to give effect to the settlement agreement.
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Settling Parties’ motion for an indicative ruling, including objections and opt-outs. No firm opted

out. The Court received objections from the Shields Law Group LLC, Paul Byrd Law Firm PLLC,

and Hossley-Embry PLLC, which the Court overruled in its Memorandum and Order granting the

motion for indicative ruling. It adopts its reasons and rationale therein for purposes of this order.

ECF No. 4524. The Court now enters this order, which effects modification of the Court’s

December 31, 2018 Memorandum and Order (ECF No. 3882), March 20, 2019 Memorandum and

Order (ECF No. 4128), July 16, 2019 Memorandum and Order (ECF No. 4202), and November

19, 2019 Memorandum and Order (ECF No. 4275) (collectively, “Fee Allocation Orders”) as

follows:

       1.      The Court finds that the Agreement reflects a reasonable compromise of the

Settling Parties’ dispute regarding allocation of the aggregate attorneys’ fee award in this matter.

The Agreement is approved.

       2.      The Court increases the attorneys’ fees awarded to Watts Guerra by $7,048,667

(the “Fee Increase”), which award is in addition to the attorneys’ fees already awarded Watts

Guerra by the Court’s July 16, 2019 Memorandum and Order (ECF No. 4202) and also in addition

to any fees that will be awarded to Watts Guerra from the IRPA Pool. The Court reduces the

awards to the Kansas Pool, the Minnesota Pool, and the Illinois Pool in the following amounts: (a)

The Kansas Pool is reduced by $2,966,333.67, said reduction to be shared pro rata according to

awards from the Kansas Pool among all firms awarded fees from the Kansas Pool except the law

firms of Weller, Green, Toups & Terrell, LLP; Richard L. Coffman, P.C.; and Hossley-Embry

LLP. (b) The Minnesota Pool is reduced by $1,582,333.33, said reduction to be shared pro rata

according to awards from the Minnesota pool among all firms awarded fees from the Minnesota

Pool except the law firms of Watts Guerra LLP; the Watts Guerra Group as that term is defined in




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§ 2 b.1 of the Agreement; the Shields Law Group; the Paul Byrd Law Firm, PLLC; and Johnson

Becker PLLC.2 And (c) the Illinois Pool is reduced by $2,500,000, said reduction to be made from

the award to HGD, with the Illinois Pool reduced by that same amount to account for this reduction

in the HGD fee award.

       3.      In addition to the $7,048,667 increase set forth above, the Court orders that the

amounts paid by Watts Guerra in connection with the Mensik settlement, currently being held in

escrow in the MDL Common Benefit Fee and Expense Funds, shall be returned to Watts Guerra

pursuant to the terms of the Agreement.

       4.      Incorporated into this order is a General and Mutual Release between (a) the

Appellee Parties, which parties consist of Kansas MDL Co-Lead Counsel on behalf of themselves

and all firms receiving fees from the Kansas pool (except the specific firms identified in paragraph

1); Minnesota Co-Lead Counsel on behalf of themselves and all firms receiving fees from the

Minnesota pool (except the specific firms identified in paragraph 2); and HGD on behalf of itself

and anyone with an interest in its fee award (“Appellee Parties”), on the one hand and (b) Watts

Guerra LLP and any person, firm, or other entity sharing in the fees received by Watts Guerra LLP

in relation to the Syngenta MIR162 Corn Litigation(“Watts Guerra Group”), on the other hand.

Except as provided for in Sections 3.f and 11 of the Agreement, pursuant to the General and Mutual

Release, the Watts Guerra Group (on the one hand) and the Appellee Parties (on the other hand)

release, waive, forfeit, and deem satisfied any and all claims, causes of action, suits, obligations,

debts, demands, agreements, promises, liabilities, damages, losses, controversies, costs, expenses

and attorneys’ fees of any nature whatsoever, whether arising under federal law, state law, common


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          Unless otherwise noted, to the extent the law firms of Weller, Green, Toups & Terrell, LLP;
Richard L. Coffman, P.C.; Hossley-Embry LLP; Shields Law Group; Paul Byrd Law Firm, PLLC: and
Johnson Becker PLLC have sought fees on behalf of themselves and other affiliated or referral firms, the
Court’s references to the aforementioned firms includes any affiliated and referral firm.


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law or equity, contract, rule, regulation, any regulatory promulgation (including, but not limited

to, any opinion or declaratory ruling), or any other law, including Unknown Claims, whether

suspected or unsuspected, asserted or unasserted, foreseen or unforeseen, actual or contingent,

liquidated or unliquidated, punitive or compensatory, related to the Syngenta MIR162 Litigation.

For clarification: the General and Mutual Release is intended to be a full and final resolution of

the dispute between Watts Guerra Group (on the one hand) and Appellee Parties (on the other

hand) related to the Syngenta MIR162 Litigation, provided that all Settling Parties retain the right

to advocate for payment and affirmance of all attorneys’ fees awarded by the Court that are not

modified by their Agreement or to enforce their Agreement.

       5.      Having given all Interested Parties an opportunity to respond to the Settling Parties’

request for modification of the Fee Allocation Orders, and considering all such responses (if any),

the Court overrules any timely objection for the reasons stated in its December 14, 2020

Memorandum and Order and finds that any Interested Party that did not timely respond has forfeit

or waived its right to object to these modifications.

       6.      The Court retains exclusive and continuing jurisdiction to resolve any dispute or

disagreement between the Settling Parties relating to their Agreement. This provision does not

apply, however, to any dispute between Settling Parties and their own referral or co-counsel,

including but not limited to any dispute involving Watts Guerra’s allocation of its IRPA Pool

Award and this Fee Increase among itself and firms in the Watts Guerra Group, and any other

disputes within the scope of § 7.2.3.2 of the Agrisure Viptera / Duracade Class Settlement

Agreement.




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 IT IS SO ORDERED.

 Dated this 5th day of January, 2021, in Kansas City, Kansas.



                              s/ John W. Lungstrum
                              Hon. JOHN W. LUNGSTRUM
                              United States District Judge




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